Case 1:18-cv-00039-JTN-ESC ECF No. 110 filed 08/05/19 PageID.1189 Page 1 of 3



                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

MICHIGAN DEPARTMENT OF
ENVIRONMENTAL QUALITY,
                                       No. 1:18-cv-00039-JTN-ESC
      Plaintiff,
                                       HON. JANET T. NEFF
v.
                                       MAG. ELLEN S. CARMODY
WOLVERINE WORLD WIDE, INC.,
                                       JOINT NOTICE REGARDING THE
      Defendant.                       SELECTION OF A MEDIATOR

and

PLAINFIELD CHARTER TOWNSHIP
and ALGOMA TOWNSHIP,

      Intervening Plaintiffs,

v.

WOLVERINE WORLD WIDE, INC.,

      Defendant.
                                   /

WOLVERINE WORLD WIDE, INC.,

      Third-Party Plaintiff,

v.

3M Corporation,

      Third-Party Defendant.
                                   /
Case 1:18-cv-00039-JTN-ESC ECF No. 110 filed 08/05/19 PageID.1190 Page 2 of 3



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Case 1:18-cv-00039-JTN-ESC ECF No. 110 filed 08/05/19 PageID.1191 Page 3 of 3



           JOINT NOTICE REGARDING SELECTION OF A MEDIATOR

         This Court’s July 26, 2019 Order directed the parties to collectively select a

mediator within ten days. The parties, having conferred as directed by the Court,

select Kenneth R. Feinberg of Kenneth R. Feinberg, PC to mediate this matter.

Dated: August 5, 2019                                         Dated: August 5, 2019

/s/ Danielle Allison-Yokom                                    /s/ Scott M. Watson
Polly A. Synk (P63473)                                        (with permission)
Brian J. Negele (P41846)                                      John V. Byl (P35701)
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                                                              R. Michael Azzi (P74508)
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                                                              Warner Norcross & Judd LLP
                                                              Attorneys for Wolverine World Wide,
                                                              Inc.

Dated: August 5, 2019                                         Dated: August 5, 2019

/s/ Douglas W. Van Essen                                      /s/ Richard S. Bulger
(with permission)                                             (with permission)
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                                                              Corporation, Inc.

LF: Wolverine World Wide, Inc. (MDEQ)/AG# 2018-0205144-A/Joint Notice Re Selection of Mediator 2019-08-05




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